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AO 472 (Rev. 11/16; DC 1/19) Order of Detention


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                              District  of
                                                                        of __________

                   United States of America                        )
                              v.                                   )
                                                                   )   Case No.
                                                                   )
                               Defendant                           )

                                        ORDER OF DETENTION PENDING TRIAL
                                                   Part I - Eligibility for Detention

     Upon the

                   Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                   Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

      A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
          (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                  (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                  § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                  (b) an offense for which the maximum sentence is life imprisonment or death; or
                  (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                  Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                  (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                  (d) any felony if such person has been convicted of two or more offenses described in subparagraphs (a)
                  through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                  described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                  jurisdiction had existed, or a combination of such offenses; or
                  (e) any felony that is not otherwise a crime of violence but involves:
                  (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                  (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
          (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
          § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise to
          Federal jurisdiction had existed; and
          (3) the offense described in paragraph (2) above for which the defendant has been convicted was
          committed while the defendant was on release pending trial for a Federal, State, or local offense; and
          (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
          defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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      B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
             (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
             (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
             (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
             or more is prescribed;
             (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
             imprisonment of 20 years or more is prescribed; or
             (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
             2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260, 2421, 2422, 2423, or 2425.

      C. Conclusions Regarding Applicability of Any Presumption Established Above

           The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is ordered on
           that basis, with the evidence or argument presented by the defendant summarized in Part III.C.

           The defendant has presented evidence sufficient to rebut the presumption, but after considering the presumption
           and the other factors discussed below, detention is warranted for the reasons summarized in Part III.

                OR

           The defendant has not presented sufficient evidence to rebut the presumption. Moreover, after considering
           the presumption and the other factors discussed below, detention is warranted for the reasons summarized in
           Part III.

                                   Part III - Analysis and Statement of the Reasons for Detention

  A. After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
     hearing, the Court concludes that the defendant must be detained pending trial because the Government has
     proven:

              By clear and convincing evidence that no condition or combination of conditions of release will reasonably
              assure the safety of any other person and the community.

              By a preponderance of evidence that no condition or combination of conditions of release will reasonably
              assure the defendant’s appearance as required.

  B. In addition to any findings made on the record at the hearing, the reasons for detention include the following:

              Weight of evidence against the defendant is strong
              Subject to lengthy period of incarceration if convicted
              Prior criminal history
              Participation in criminal activity while on probation, parole, or supervision


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              History of violence or use of weapons
              History of alcohol or substance abuse
              Lack of stable employment
              Lack of stable residence
              Lack of financially responsible sureties
              Lack of significant community or family ties to this district
              Significant family or other ties outside the United States
              Lack of legal status in the United States
              Subject to removal or deportation after serving any period of incarceration
              Prior failure to appear in court as ordered
              Prior attempt(s) to evade law enforcement
              Use of alias(es) or false documents
              Background information unknown or unverified
              Prior violations of probation, parole, or supervised release

C. OTHER REASONS OR FURTHER EXPLANATION:

     The defendant’s evidence/arguments for release:




     Nature and circumstances of offense:




     The strength of the government’s evidence:




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     The defendant’s history and characteristics, including criminal history:




     The defendant’s dangerousness/risk of flight:




                                                  Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date:

                                                                                       United States




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     ATTACHMENT TO ORDER OF DETENTION PENDING TRIAL, PART III. C:
          Consideration of Defendant’s evidence/arguments for release and
                            18 U.S.C. § 3142(g) Factors
(1) The Nature and Circumstances of the Offense:

        The nature and circumstances of the offense weigh heavily in favor of detention.

Defendant is charged with five felonies and three misdemeanor offenses, Criminal Compl.

(“Compl.”), ECF No. 1, based on his alleged offense conduct, on January 6, 2021, of engaging in

a sustained physical assault, using multiple objects and projectiles, for a prolonged period of

almost 15 minutes against a defensive line of police officers trying to bar rioters from entering

the U.S. Capitol Building through an archway located in the Lower West Terrance. Statement of

Facts (“SOF”) at 3–4, ECF No. 1-1. After breaching secured areas surrounding the Capitol with

a crowd of rioters and advancing to the Lower West Terrace of the Capitol, defendant placed

himself at the front of mob and proceeded to use at various times to attack and distract law

enforcement officers protecting a Capitol entrance: a police baton, a long pole, a large tabletop,

pieces of wood, a strobe light and other projectiles, . Id.

        The government proffers—and has presented video evidence showing—that defendant

carried out a sustained assault on law enforcement lasting almost fifteen minutes. 1 At

approximately 2:47 PM, publicly available video footage shows defendant throwing a tabletop at

a line of police officers. SOF at 3–4; Gov’t’s Ex. 1B. Then, at approximately 2:50 PM, body-

worn camera footage from one of the officers guarding the archway shows defendant striking the

officers with a baton, SOF at 5; Gov’t’s Ex. 1C, and another video shows defendant, shortly

thereafter, using a strobe light in an apparent attempt to disorient the officers, Gov’t’s Mot. for


1
         The government provided six video exhibits directly to the Court and filed a Notice of Filing of Items
Incompatible with CM/ECF Filing, ECF No. 8, describing the videos. The government was then directed, with the
consent of the parties, to make the video exhibits publicly available using the “drop box” technical solution
described in Standing Order 21-28, In re: Media Access to Video Exhibits in Pretrial Capitol Cases. See Min. Order
(Aug. 18, 2021).

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Review and Appeal of Release Order (“Gov’t’s Mot.”) at 7, ECF No. 6; Gov’t’s Ex. 1G. Then,

at 4:59 PM, defendant is captured on video breaking up a large piece of wood and throwing the

pieces at the officers. Gov’t’s Mot. at 9; Gov’t’s Ex. 1H. Finally, at 5:00 PM, footage from the

Capitol’s CCTV system shows defendant throwing a pole at the officers. Gov’t’s Mot. at 10;

Gov’t’s Ex. 1I.

       As a result of this offense conduct, as noted, defendant is charged with five serious felony

offenses. Specifically, he is charged with (1) forcibly assaulting, resisting, opposing, impeding,

intimidating or interfering with any person designated in 18 U.S.C. §1114 while engaged in or on

account of the performance of official duties, in violation of 18 U.S.C. § 111(a)(1) and (b),

which offense carries up to 20 years imprisonment; (2) committing or attempting to commit any

act to obstruct, impede, or interfere with any law enforcement officer lawfully engaged in the

lawful performance his official duties incident to and during the commission of a civil disorder

which in any way or degree obstructs, delays, or adversely affects the performance of any

federally protected function, in violation of 18 U.S.C. § 231(a)(3), which offense carries up to 5

years imprisonment; (3) knowingly entering or remaining in any restricted building or grounds

without lawful authority while using or carrying a deadly or dangerous weapon in violation of 18

U.S.C. § 1752(a)(1) and (b)(1)(A), which offense carries up to 10 years imprisonment; (4)

knowingly, and with intent to impede or disrupt the orderly conduct of government business or

official functions, engaging in disorderly or disruptive conduct in, or within such proximity to,

any restricted building or grounds when, or so that, such conduct in fact impedes or disrupts the

orderly conduct of government business and official functions in violation of 18 U.S.C. §

1752(a)(2) and (b)(1)(A), which offense also carries up to 10 years imprisonment; and (5)

knowingly engaging in any act of physical violence against any person or property in any



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restricted building or grounds in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A), which

offense also carries up to 10 years imprisonment. The government proffers that, given the

manner of defendant’s aggressive use, each of the following objects qualifies as a dangerous

weapon: the police baton, the long pole, the large tabletop, the pieces of wood. Rough Hr’g Tr.

(Aug. 18, 2021) at 6:9–21.

        Defendant is alleged to have engaged in some prior planning for violence, United States

v. Chrestman, Case No. 21-mj-218 (ZMF), 2021 U.S. Dist. LEXIS 36117, at *22 (D.D.C. Feb.

26, 2021), by bringing a gas mask to the riot. See Gov’t’s Mot. at 13. While possession of a gas

mask is not unlawful and might be used for non-violent defensive purposes, see Def.’s Opp’n to

Gov’t’s Mot. for Review and Appeal of Release Order at 3, ECF No. 10, the fact that defendant

brought the gas mask and then engaged in violent confrontation with law enforcement indicates

that its intended use was not benign.

        Defendant did not enter the Capitol building, Chrestman, 2021 U.S. Dist. LEXIS 36117,

at *23, nor apparently coordinate with other riot participants “before, . . . or after the riot,” id.

Defendant did coordinate with other rioters during the attack by positioning himself at the front

of the mob where he was able to use directly against the police the long pole, which had been

passed to the front from rioters in the crowd and, in so doing, “assumed . . . a de facto leadership

role in the assault,” id. at *23. Defendant’s “confront[ation with] . . . law enforcement,” id. at

*24, including his “attempt[s] to injure” an entire line of officers at whom he thew objects and

struck with a police baton, id. at *23, demonstrates defendant’s willingness to engage in

aggressive and violent conduct towards police officers in order to pursue his own political views.

The D.C. Circuit has instructed that “those who actually assaulted police officers and broke

through windows, doors, and barricades, and those who aided, conspired with, planned, or



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coordinated such actions, are in a different category of dangerousness than those who cheered on

the violence or entered the Capitol after others cleared the way.” United States v. Munchel, 991

F.3d 1273, 1284 (D.C. Cir. 2021). This defendant falls within the “different category” of

January 6 defendants identified in Munchel by virtue of having physically assaulted police

officers in attempting to overwhelm a police line and gain entry to the Capitol building. By

contrast, the defendants in Munchel, though carrying a dangerous weapon (taser) inside the

Capitol, did not activate the weapon, vandalize any property or physically harm any person. Id.

        The nature and circumstances of defendant’s offense conduct weigh heavily in favor of

pretrial detention.

(2) The Weight of the Evidence Against the Person:

        The weight of the evidence against the defendant also strongly favors pretrial detention.

The government has presented six videos and numerous photos showing defendant engaging in

the offense conduct underlying the charges against him, including his sustained assault on police

officers. SOF at 3–5; Gov’t’s Exs. 1A, 1B, 1C, 1G, 1H, and 5. The videos, and screenshots

taken from the videos, clearly show defendant engaging in the assault described above. The

government has also presented a picture of defendant throwing a pole at police officers, in which

defendant’s face is clearly visible. Gov’t’s Mot. at 10.

(3) The History and Characteristics of the Person:

        The history and characteristics of the defendant weigh in favor of release. Defendant is

35 years old and has very close ties to the Fort Worth area, where he has lived for 14 years. N.D.

Tex. Pretrial Servs. Report at 1–2. He has been employed at a Domino’s Pizza Supply Chain

Center for over four years, and runs a motorcycle tire business. Id. He has lived at his current

residence with his girlfriend for almost three years, appears to be financially stable and has no



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significant history of substance abuse. Id. at 2–4. Defendant’s community ties and employment

certainly weigh in his favor and provide some assurance that he does not present a risk of flight.

       Defendant has two prior convictions, a felony for evading arrest in 2010 and a

misdemeanor for unlawful carrying of a weapon in 2013. Id. at 4. The convictions—particularly

the one for evading arrest—raise concern, but they both occurred over eight years ago. In

addition, defendant has a history of being a member of a Texas militia group, but the

government’s proffer was very limited on this aspect of defendant’s history, and he both owns

and regularly carries a firearm.

       Taken together, these considerations relevant to this factor weigh against pretrial

detention.

(4) The Nature and Seriousness of the Danger to Any Person or the Community that
    Would be Posed by the Person’s Release:

       The nature and seriousness of the danger to the community posed by the defendant’s

release weigh in favor of detention. Defendant was part of the mob attack on the Capitol in

which many people, including police officers, suffered grievous injury and Congress’s

constitutional task of counting electoral college votes was disrupted and delayed for hours. He

was an active participant at the front of the mob facing off against the police and engaging in a

prolonged and persistent assault on the law enforcement line on the Lower West Terrace of the

Capitol grounds, attempting to breach the line and gain access to the Capitol Building. His

aggressive persistence in this attack is reflected in the multiple items defendant used during this

attack, including a baton, Gov’t’s Ex. 1C; a pole, Gov’t’s Ex. 1I; a table top, Gov’t’s Ex. 1B; a

large piece of wood board, Gov’t’s Ex. 1H, and a strobe light, Gov’t’s Ex. 1G, all directed

toward harming the police.




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       The facts of this case make clear that defendant’s dangerousness is not limited to “the

particular circumstances of January 6.” Munchel, 991 F. 3d at 1283. Defendant’s sustained

violent conduct toward law enforcement on January 6, coupled with his criminal history, albeit

minor, demonstrate willful disrespect for the law and willingness to use force to achieve political

ends, raising serious concerns about the danger that defendant poses if released pending trial and

makes plain that the danger he presents is not isolated to the context of the events of January 6.

       This factor weighs in favor of detention.




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